     Case 2:21-cv-07153-RSWL-KS Document 1 Filed 09/07/21 Page 1 of 12 Page ID #:1



 1   TRACY L. WILKISON
     Acting United States Attorney
 2   SCOTT M. GARRINGER
     Assistant United States Attorney
 3   Chief, Criminal Division
     JONATHAN GALATZAN
 4   Assistant United States Attorney
     Chief, Asset Forfeiture Section
 5   VICTOR A. RODGERS (Cal. Bar No. 101281)
     MAXWELL COLL (Cal. Bar No. 312651)
 6   Assistant United States Attorney
     Asset Forfeiture/General Crimes Sections
 7        Federal Courthouse, 14th Floor
          312 North Spring Street
 8        Los Angeles, California 90012
          Telephone: (213) 894-2569/1785
 9        Facsimile: (213) 894-0142/0141
          E-mail: Victor.Rodgers@usdoj.gov
10                Maxwell.Coll@usdoj.gov
11   Attorneys for Plaintiff
     UNITED STATES OF AMERICA
12
                             UNITED STATES DISTRICT COURT
13
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
                                    WESTERN DIVISION
15
     UNITED STATES OF AMERICA,                Case No. 2:21-cv-07153
16
                Plaintiff,                    COMPLAINT FOR FORFEITURE
17
                      v.                      18 U.S.C. § 981(a)(1)(A) & (C) and
18                                            31 U.S.C. § 5317(c)(2)
     $400,000.00 IN U.S. CURRENCY,
19                                            [FBI]
                Defendant.
20

21
           Plaintiff United States of America brings this claim against
22
     defendant $400,000.00 in U.S. Currency (“the defendant currency”),
23
     and alleges as follows:
24
                                 JURISDICTION AND VENUE
25
           1.    The government brings this in rem forfeiture action
26
     pursuant to 18 U.S.C. § 981(a)(1)(A) & (C) and 31 U.S.C.
27
     § 5317(c)(2).
28
     Case 2:21-cv-07153-RSWL-KS Document 1 Filed 09/07/21 Page 2 of 12 Page ID #:2



 1         2.    This Court has jurisdiction over the matter under 28 U.S.C.

 2   §§ 1345 and 1355.

 3         3.    Venue lies in this district pursuant to 28 U.S.C. § 1395.

 4                                PERSONS AND ENTITIES

 5         4.    The plaintiff in this action is the United States of

 6   America.

 7         5.    The defendant in this action is $400,000.00 in U.S.

 8   Currency seized by law enforcement officers on or about March 22,

 9   2021, at U.S. Private Vaults at 9182 Olympic Boulevard in Beverly

10   Hills, California.

11         6.    The defendant currency is currently in the custody of the

12   United States Marshals Service in this District, where it will remain

13   subject to this Court’s jurisdiction during the pendency of this

14   action.

15         7.    The interests of Seda Poghosyan and Robert Mirumyan may be

16   adversely affected by these proceedings.

17                                BASIS FOR FORFEITURE

18   Background Regarding U.S. Private Faults
19         8.    U.S. Private Vaults (“USPV”) is a company that was in the

20   business of renting safe deposit boxes to customers.           By providing

21   and promoting total anonymity, USPV catered to and attracted

22   criminals who sought to keep their identities and the source of their

23   cash beyond the reach of banks, regulators, the IRS, and law

24   enforcement.

25         9.    The company’s primary pitch to customers was anonymity, as

26   reflected in its website that provided “Complete Privacy; Biometric

27   Identification; No ID Required.”        USPV also boasted in its website

28   “Our business is one of the very few where we don’t even want to know

                                             2
     Case 2:21-cv-07153-RSWL-KS Document 1 Filed 09/07/21 Page 3 of 12 Page ID #:3



 1   your name.       For your privacy and the security of your assets in our

 2   vault, the less we know the better.”        This advertisement appealed to

 3   persons engaged in activities which they wished to hide from legal

 4   authorities and law-abiding financial institutions.

 5           10.   USPV also posted on its website “Four Reasons to Store Your

 6   Gold At USPV,” information designed to market the company’s services,

 7   which led to many involved in criminal activities to rent boxes from

 8   USPV.    The posting asserted:

 9           Banks require clients to provide their social security

10           number and a photo identification as a condition for

11           renting a safe deposit box.     Your information is then filed

12           in the bank's central data system.      This information can be

13           easily accessed by government agencies (such as the IRS) or

14           attorneys armed with court orders. If no one is aware you

15           have a safe deposit box, the contents (your gold) are much

16           safer.

17   By advocating a service which circumvented the IRS and persons “armed

18   with court orders,” customers engaged in illegal activity were

19   attracted to and ultimately stored and secreted their criminal

20   proceeds (which the government has a legitimate interest in) at USPV,

21   instead of at banks or law-abiding financial institutions where their

22   illegal activities would more likely be uncovered.

23           11.   In the same post, “Four Reasons to Store Your Gold At

24   USPV”, USPV stated:

25           As government chartered institutions, banks are now

26           required to file “suspicious activity reports.” . . . U.S.

27           Private Vaults is not subject to federal banking laws and

28           would only cooperate with the government under court order.

                                             3
     Case 2:21-cv-07153-RSWL-KS Document 1 Filed 09/07/21 Page 4 of 12 Page ID #:4



 1   By marketing services in this fashion, some persons who ultimately

 2   became USPV customers, were attracted by the advertisements because

 3   USPV’s safe deposit box storage facilities offered them a much safer

 4   place to store their illegal criminal proceeds, unlike law-abiding

 5   banks, so as to eliminate their fear of apprehension by law

 6   enforcement and in promotion of their illegal activities.

 7         12.   Further, and in order to shield customers from having law

 8   enforcement uncover their illegal activity, USPV encouraged its

 9   customers pay their box rental fees in cash.          In addition, USPV

10   charged customers significantly higher prices than those charged by

11   major banks, because USPV offered something which legitimate banks do

12   not: anonymity, a place to store illegally obtained cash, tips and

13   assistance in avoiding law enforcement and a willingness to look the

14   other way with regard to all types of criminal conduct.           And one of

15   USPV’s owners has gone so far as to brag about bringing to USPV

16   individuals selling marijuana and other drugs illegally, based on the

17   owner’s connections, by marketing USPV as a safe place for those

18   criminal actors and potential USPV customers to store their ill-

19   gotten gains.

20         13.   Not surprisingly, because USPV’s business model is designed

21   to appeal and cater to criminals, USPV has repeatedly been used by

22   criminals to store criminal proceeds.         Over the years, the contents

23   of specific boxes at USPV have been forfeited because they are the

24   proceeds of criminal activity.       For example, on July 1, 2019,

25   officers seized $215,653 from Michael Beaver, as he was leaving USPV,

26   and then seized an additional $1,448,700 from his USPV boxes.

27   Records from the Employment Development Department (the “EDD”), which

28   is the California agency to whom employers must report wages earned

                                             4
     Case 2:21-cv-07153-RSWL-KS Document 1 Filed 09/07/21 Page 5 of 12 Page ID #:5



 1   by their employees, showed Beaver had no legitimate employment

 2   income.       In addition, Beaver’s phones revealed evidence of drug

 3   trafficking activity, and the in excess of $1.6 million funds were

 4   forfeited as proceeds of unlawful activity.

 5           14.    On April 21, 2019, a victim was kidnapped in San Diego and

 6   brutally tortured in a warehouse, where the victim was hit with

 7   sticks and baseball bats; stripped naked; hit with a hammer on the

 8   victim’s toes; and set on fire.        Allan Newman was arrested and

 9   charged with kidnapping for ransom, attempted murder, torture and

10   aggregated mayhem relative to the beating.         The victim had been

11   employed by a group of people who were engaged in distributing

12   counterfeit marijuana vaping cartridges, and the group believed the

13   victim had stolen a suitcase full of cash, which a vape cartridge

14   customer had left at the warehouse.         A portion of the funds had been

15   placed by the victim’s ex-wife in a safe deposit box at USPV, which

16   the ex-wife retrieved and used to pay the victim’s ransom.

17           15.    On March 6, 2018, officers seized $101,080 and 26 gold bars

18   from Vincent Ramos’ USPV box.       Ramos was the CEO of a company that

19   facilitated the importation, exportation and distribution,

20   internationally, of wholesale quantities of cocaine, heroin and

21   methamphetamine.      The currency and gold bars were forfeited, and

22   Ramos was indicted and pleaded guilty to Racketeering and Drug

23   Trafficking, in the Southern District of California.           See United

24   States v. Ramos, Case No. 18cr1404-WQH.

25           16.    In September 2016, officers seized $592,450 and $435,190,

26   respectively, from two USPV boxes of Mikhail Malykhin, an individual

27   who was the leader of an identity theft/computer intrusion fraud

28   ring.    He and others were involved in a complex scheme involving

                                             5
     Case 2:21-cv-07153-RSWL-KS Document 1 Filed 09/07/21 Page 6 of 12 Page ID #:6



 1   altering hacked debit cards from a health insurance provider and

 2   altering the codes to cash out the debit cards.          Malykhin was

 3   indicted and pleaded guilty to committing access device fraud, and

 4   the over $1,000,000 in funds seized from Malykhin’s boxes were

 5   forfeited as proceeds of the fraud and were used to pay restitution

 6   to victims of Malykhin’s fraud.        See United States v. Malykhin,

 7   Central District of California Case No. 16cr0688-DMG.

 8         17.   In November 2015, officers seized $1,543,400 from the USPV

 9   box of Gerald Lebowitz, which he stated had been brought into the

10   United States illegally to avoid taxes.         However, further

11   investigation revealed that Lebowitz was part of a conspiracy to

12   distribute methaqualone, a controlled substance, and officers seized

13   over 45 kilograms of methaqualone powder and 12 canisters of the

14   chemical o-Taluidine, both chemical precursors, during the course of

15   the investigation.      The funds were forfeited as criminal proceeds.

16   See United States of America v. Lebowitz, Central District of

17   California Case No. 17cr-0053-CAS.
18         18.   On October 28, 2015, officers seized $500,000, 22 gold bars
19   and 15 gold coins from the USPV box of Cyrus Irani, who was the

20   master bookmaker and head of an illegal gambling organization that

21   operated both internet and traditional bookmaking operations, and

22   engaged in money laundering.       He pleaded guilty to Enterprise

23   Corruption, and 14 others in his organization were convicted of

24   various gambling, money laundering and enterprise corruption charges.

25   The assets found in Irani’s box were forfeited as criminal proceeds.

26   The Property At Issue In This Case

27         19.    The assets seized from the box at issue in this case are

28   an example of persons storing assets from their illegal activity at

                                             6
     Case 2:21-cv-07153-RSWL-KS Document 1 Filed 09/07/21 Page 7 of 12 Page ID #:7



 1   USPV, as a result of USPV’s advertisements, marketing efforts and

 2   other transactions and activities over the web, on-line and in the

 3   mails, designed to induce persons to rent boxes at USPV to hide their

 4   ill-gotten gains.     The assets seized represent the proceeds of

 5   criminal activity and were involved in money laundering activity,

 6   which therefore renders them subject to forfeiture.

 7         20.   According to California Secretary of State records,

 8   Mirumyan is the Chief Financial Officer and Poghosyan is the Chief

 9   Executive Officer of Exclusive Events Planning.          Square, Inc. is a

10   company that allows merchants, such as Exclusive Events Planning, to

11   establish and accept mobile and credit card payments which the

12   merchants then submit for reimbursement.         Ten merchant accounts,

13   including Exclusive Events Planning Square, Inc.’s merchant account,

14   charged approximately 143 transactions totaling over $1,250,000.00.

15   50 of the 143 transactions were declined, but the remaining 93 of the

16   transactions were successfully processed, resulting in the payment of

17   over $750,000.00.

18         21.   As a result of an investigation, Square, Inc. learned the

19   merchants that submitted the payments shared the same payment

20   location, but that those merchants were apparently engaged in

21   entirely different alleged businesses.         Exclusive Events Planning

22   plans events, but Square, Inc. learned that submitted information

23   regarding the other merchants indicated that they were engaged in

24   different businesses, in an apparent effort to legitimize the

25   transactions without disclosing that the payments were processed from

26   a single location.      The other merchant “businesses” included a stereo

27   and automotive accessory installation business, a motor freight

28   transportation company, a courier service, a paving company and a

                                             7
     Case 2:21-cv-07153-RSWL-KS Document 1 Filed 09/07/21 Page 8 of 12 Page ID #:8



 1   hospice.    None of these businesses have anything to do with an events

 2   planning business (like Exclusive Events Planning), nor would those

 3   types of different business normally conduct their operations at a

 4   single location.

 5         22.   Mirumyan also has a history of submitting false insurance

 6   claims for damage to vehicles.       For example, Mirumyan submitted an

 7   insurance claim for a Mercedes-Benz, averring that the vehicle had

 8   been damaged while parked as a result of being hit by another

 9   vehicle.    However, accident reconstruction reports showed that the

10   Mercedes was not damaged while parked.         Instead, both vehicles

11   involved in the “incident” had suffered damage from sideswipe

12   impacts, but not with each other.        Further, the body shop where the

13   Mercedes-Benz had been taken for repairs was the subject of multiple

14   separate insurance fraud investigations.

15         23.   The $400,000.00 in U.S. Currency (i.e., the defendant

16   currency), which was found in box number 503 for which husband and
17   wife Mirumyan and Poghosyan are linked, constitutes assets far in
18   excess of the amount their legal sources of income would support.
19   Mirumyan and Poghosyan have reported adjusted gross income in the

20   State of California for their income as follows: 2014 (Mirumyan

21   [$917]); 2015 (Mirumyan [$7,602]; 2016 (Mirumyan [$11,760]); 2017

22   (Mirumyan and Poghosyan jointly [$11,760]); 2018 Mirumyan [$12,000]

23   and Poghosyan [$16,166]; and 2019 (Mirumyan [$10,709] and Poghosyan

24   [$12,656]).

25         24.   When officers executed a federal search warrant at Mirumyan

26   and Poghosyan’s residence on or about August 12, 2021, officers found

27   credit cards in the names of other persons, which is evidence of

28   access device fraud.      In addition, Mirumyan and Poghosyan stated that

                                             8
     Case 2:21-cv-07153-RSWL-KS Document 1 Filed 09/07/21 Page 9 of 12 Page ID #:9



 1   they brought funds into the United States under $10,000.00 at a time

 2   so that they would not have to report the currency to Customs.

 3                               FIRST CLAIM FOR RELIEF

 4         25.   Plaintiff incorporates the allegations of paragraphs 1-24

 5   above as though fully set forth herein.

 6         26.   Based on the above, plaintiff alleges that the defendant

 7   currency constitutes or is derived from proceeds traceable to

 8   violations of 18 U.S.C. §§ 1029 (access device fraud), 1341 (wire

 9   fraud) and/or 1343 (mail fraud), each of which is a specified

10   unlawful activity as defined in 18 U.S.C. §§ 1956(c)(7)(A) and

11   1961(1)(D).    The defendant currency is therefore subject to

12   forfeiture pursuant to 18 U.S.C. § 981(a)(1)(C).

13                              SECOND CLAIM FOR RELIEF

14         27.   Plaintiff incorporates the allegations of paragraphs 1-24
15   above as though fully set forth herein.
16         28.   Based on the above, plaintiff alleges that the defendant
17   currency constitutes property involved in multiple transactions or
18   attempted transactions in violation of 18 U.S.C. § 1956(a)(1)(A)(i)
19   or (a)(1)(B)(i), or property traceable to such property, with the

20   specified unlawful activity being a violation of 18 U.S.C. §§ 1029

21   (access device fraud), 1341 (wire fraud) and/or 1343 (mail fraud).

22   The defendant currency is therefore subject to forfeiture pursuant to

23   18 U.S.C. § 981(a)(1)(A).

24                               THIRD CLAIM FOR RELIEF

25         29.   Plaintiff incorporates the allegations of paragraphs 1-24

26   above as though fully set forth herein.

27         30.   Based on the above, plaintiff alleges that the defendant

28   currency constitutes property involved in multiple transactions or

                                             9
     Case 2:21-cv-07153-RSWL-KS Document 1 Filed 09/07/21 Page 10 of 12 Page ID #:10



 1    attempted transactions in violation of 18 U.S.C. § 1957(a), or

 2    property traceable to such property, with the specified unlawful

 3    activity being a violation of 18 U.S.C. §§ 1029 (access device

 4    fraud), 1341 (wire fraud) and/or 1343 (mail fraud).           The defendant

 5    currency is therefore subject to forfeiture pursuant to 18 U.S.C. §

 6    981(a)(1)(A).

 7                               FOURTH CLAIM FOR RELIEF

 8            31.   Plaintiff incorporates the allegations of paragraphs 1-24

 9    above as though fully set forth herein.

10            32.   Based on the above, plaintiff alleges that the defendant

11    currency was involved in one or more violations of 31 U.S.C. '

12    5316(a) (requiring reports on importing monetary instruments of more

13    than $10,000.00), or a conspiracy to commit such violation, or

14    constitutes property traceable to such violation or conspiracy.             The

15    defendant currency is therefore subject to forfeiture pursuant to 31

16    U.S.C. ' 5317(c)(2).

17            WHEREFORE, plaintiff United States of America prays:

18            (a)   that due process issue to enforce the forfeiture of the

19    defendant currency;

20            (b)   that due notice be given to all interested parties to

21    appear and show cause why forfeiture should not be decreed;

22            (c)   that this Court decree forfeiture of the defendant currency

23    to the United States of America for disposition according to law; and

24    / / /

25    / / /

26    / / /

27    / / /

28    / / /

                                             10
     Case 2:21-cv-07153-RSWL-KS Document 1 Filed 09/07/21 Page 11 of 12 Page ID #:11



 1          (d)   for such other and further relief as this Court may deem

 2    just and proper, together with the costs and disbursements of this

 3    action.

 4    Dated: September 7, 2021           TRACY L. WILKISON
                                         Acting United States Attorney
 5                                       SCOTT M. GARRANGER
                                         Assistant United states Attorney
 6                                       Chief, Criminal Division

 7
                                         _______/s/___________________
 8                                       VICTOR A. RODGERS
                                         MAXWELL COLL
 9                                       Assistant United States Attorneys
                                         Asset Forfeiture/General Crimes
10                                       Sections

11                                       Attorneys for Plaintiff
                                         UNITED STATES OF AMERICA
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                             11
     Case 2:21-cv-07153-RSWL-KS Document 1 Filed 09/07/21 Page 12 of 12 Page ID #:12



 1                                      VERIFICATION

 2          I, Lynne Zelhart, hereby declare that:

 3          1.    I am a Special Agent with the Federal Bureau of

 4    Investigation.

 5          2.    I have read the above Complaint for Forfeiture and know the

 6    contents thereof.

 7          3.    The information contained in the Complaint is either known

 8    to me personally, was furnished to me by official government sources,

 9    or was obtained pursuant to subpoena.         I am informed and believe that

10    the allegations set out in the Complaint are true.

11          I declare under penalty of perjury under the laws of the United

12    States of America that the foregoing is true and correct.

13          Executed on September 7, 2021 at Los Angeles, California.

14

15                                             /s/ Lynne Zelhart
                                                   Lynne Zelhart
16

17

18

19

20

21

22

23

24

25

26

27

28

                                             12
